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EXHIBIT 18
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From: Leslie R. DeMars [(/O=DARTMOUTH HITCHCOCK MEDICAL CENTER/OU=DHMC/CN=RECIPIENTS/CN=LESLIER, DEMARS]
Sent: 4/25/2017 11:42:57 PM

To: Daniel P, Herrick [Daniel.P.Herrick@hitchcock. org]

Subject: my thoughts for your strategy

Daniel, you obviously have a good sense of Ed, and he is furious at me, but there are some issues that he has to
understand in order to get to yes on hiring Dan Grow in some capacity asap.

Dan has offers from both Mayo and Yale, and cannot hold them off for more than a month waiting for DH to make him
an offer. ,

The decision to cease operations is that WITHOUT NURSING SUPPORT, WE CANNOT PROVIDE THE QUALITY OF SERVICE
THAT WE EXPECT. It’s NOT patient safety. When Aimee Giglio said “we’ve never closed a service at DH before” she
made an inflammatory statement. We no longer do pancreas transplants since Axelrod left. We don’t do Mohs surgery
and had to outsource the Mohs fellow when the Mohs surgeon left. This is not patient safety or poor outcomes,

While David is not a good leader, his failure is also the result of a masterful takedown by Misty Porter. If she had wanted
to support him, she would have made the division successful.

Misty is counting on her longevity and my friendship to come in as the savior of the division.

Ed is also lumping Albert into “he’s been a problem since day 1”. This is not a fair characterization of Albert. Again,
Misty has decided that she no longer wants to work with him or teach him, and she is bullying him. He did an amazing
job by himself Jan-Aug 2016.

David is a nudge, who somehow lacks situational awareness, but he came into a dysfunctional division with half the
team determined to make him fail.

Despite the dysfunction, the pregnancy rates were excellent during 2016, and the lab is largely responsible for that.
The lab is very functional, and Navid is contracted to work one day a week at UVM.

The nursing dysfunction is/was longstanding and preceeded David. He didn’t hire any of the nurses, and had little
control over the splitting behavior that was in place. | thought that we would be able to correct the splitting once
Sharon retired. | didn’t predict that Casey was going to be terminated, and Marti was not going to be strong enough to
work independently. Marlene, the nurse from Bedford who is leaving Friday, is willing to help us on a consulting basis to
develop nursing protocols and educational tools.

We have to be very careful about the conditions under which we can terminate our providers.
David's wife is a Pedi Endocrinologist who works mostly in Manchester. It is conceivable that he could join one of the
Boston IVF practices (Lord help them) and compete directly for these patients.

Albert is a fairly innocent bystander — the kid whose parents hate one another and he’s trying to please both.

Misty — is a master chess player. She has strong ties to UVM, and unless she is going to be forced to resign over the
medication diversion issues, her first move will be to be hired by UVM, and they will want to know why we are not
keeping her. She will also continue to have some influence then, unless we break ties with UVM, which is not in either
institutions’s best interest.

Alternatively she could open an REI satellite office of Northeastern Repro Medicine in WRJ and compete very quickly for
patients.

We could offer her ultrasound only position, but keeping her out of any rebuilding plans will be impossible.

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This is a highly competitive market, and the division is only profitable if we continue to provide ART services. If we can’t
hire Dan now, and try to hire someone ina year, with no ART activity, we are effectively permanently shutting the
program, because NO ONE will take the job, and it is very hard to hire REls into an academic program. That's how we
got stuck with David.

I think that we have to get a commitment to hire Dan as an REI, on a contract to help develop the plan and support
rebirth of this program. He actually would be able to see patients and control a flow of them to UVM until we have
the correct personnel in place. He would be helpful to UVM, because they have two very junior REI docs. That
scenario would be preferable to sending all of our patients to Boston IVF or NRM de novo. It also prevents Misty from
pulling all of those patients away.

lam concerned that we have to have something solid in place for residents, because we are likely to get reviewed in
the next 18 months because we have new program director.

The messaging is very messy --- and we have patients who are about to start meds. The right thing to do is to
postpone their cycles, but | need three levels of message that is fair, not inflammatory or defamatory, so that | can get
working with UVM. The ideal message is that because of staffing issues we are stopping ART procedures, but that
doesn’t answer why we can’t continue doing NPW and non-infertility evals.

My life and the messaging would be much easier if John Kakavas determines that all three providers are at fault in the
medi diversion issue and are facing loss of license.

Look forward to talking to you in the am. Ill let you digest this and then drop by your office. .

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